HENRY HARMEL, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Harmel v. CommissionerDocket No. 38855.United States Board of Tax Appeals19 B.T.A. 376; 1930 BTA LEXIS 2409; March 24, 1930, Promulgated *2409  The petitioner in 1924 executed oil and gas leases covering land owned by him.  The leases provided, in addition to the usual royalty, for a cash consideration which was paid to the petitioner in that year.  Held that the leases were not sales of capital assets within the meaning of section 208 of the Revenue Act of 1924, and that the petitioner is not entitled to the benefits of that section.  Robert Ash, Esq., for the petitioner.  J. Arthur Adams, Esq., for the respondent.  MARQUETTE *376  The respondent, by deficiency letter dated April 4, 1928, asserted deficiencies in tax against the petitioner in the amounts of $2,587.24 for 1924 and $367.68 for 1926, and determined an overassessment in the amount of $727.78 for the year 1925.  It is alleged in the petition that the petitioner's tax liability for the three years mentioned is in controversy.  At the hearing counsel for the petitioner abandoned the proceeding in so far as it involves the year 1926, and as to the year 1925 the proceeding was dismissed for lack of jurisdiction on the part of the Board to hear and determine it.  FINDINGS OF FACT.  The petitioner is an individual residing*2410  at Megargel, Tex.  In the year 1924 the petitioner was, and had been for many years, the owner in fee simple of certain lands.  In October, 1924, he executed two oil and gas leases covering said land on the basis of stipulated royalties and a cash consideration of $57,000.  In December, 1924, the petitioner's funds in the First State Bank of Megargel, Tex., became depleted and he, or his agent, on December 5, 1924, deposited in said bank to the account of the petitioner a check for $1,000 drawn on the First National Bank of Wichita Falls.  On December 24, 1924, the petitioner or his agent deposited in said First State Bank of Megargel to the account of the petitioner a check for $500 drawn on the First National Bank of Wichita Falls.  The said checks drawn on the First National Bank of Wichita Falls were against deposits made by the petitioner from the consideration received on the execution of the oil and gas leases mentioned.  The petitioner filed an income-tax return for 1924 and treated said amount of $57,000 as capital gain.  The respondent, upon audit of the return, determined that said $57,000 was income taxable at the ordinary rates and he also added to the petitioner's*2411  income the said amount *377  of $1,500 deposited in the First State Bank of Megargel as "unidentified deposits not reported," and determined a deficiency in tax for 1924 in the amount of $2,587.24.  OPINION.  MARQUETTE: It is clear that the respondent is in error with respect to the amount of $1,500 deposited by the petitioner in the First State Bank of Megargel, Tex., in December, 1924.  These deposits were funds transferred from the bank of Wichita Falls to the bank of Megargel, and represented a part of the $57,000 received by the petitioner on the execution of certain oil and gas leases, which had already been included in the petitioner's income.  The amount in question should be eliminated from the petitioner's income for 1924 as heretofore determined by the respondent.  The only other question is whether the cash consideration received by the petitioner in 1924 as a part of the consideration for the execution of certain oil and gas leases should be taxed as ordinary income or as capital gain, under the provisions of section 208 of the Revenue Act of 1924.  This question has been considered by the Board on a number of occasions and has been exhaustively discussed in*2412 ; ; and . In the last named case it is stated: In , we were again confronted with the same question presented in the Berg case and with the same contention that the state law prevails.  Following the Berg decision, we again held that an ordinary oil and gas lease did not convey title to the oil and gas and that such a lease did not constitute a sale of a capital asset within the meaning of section 206 of the Revenue Act of 1921.  It is pertinent to point out that the Burkett case resembles these proceedings in that in addition to the usual royalty there was paid a cash consideration of $175,000. * * * It is clear under the above authoritites that petitioner James R. Parkey is not entitled to the benefits of section 206 of the Revenue Act of 1921 and of section 208 of the Revenue Act of 1924.  The Burkett case was affirmed by the *2413 . The court said in part: The gist of this instrument is that, for a payment of $175,000, the oil company was given the right to prospect and produce oil for a maximum term of 50 years under the conditions and upon the payments set forth therein.  Whether this instrument can be described by any defined legal terms - such as lease, license, etc., - it is certain that it is only a limited grant of a right in respect to land and for a limited period of time by one having the fee and possession.  Such can not be denominated a sale in the ordinary sense of that word, and there is no reason to construe section 206 as using "sale" in any other sense.  The wording and the legislative history of section 206 are clear *378  that it was intended to apply to "sales" in the sense of conveyance of title to property, not of the creation of privileges or estates or rights in property for a limited period of time.On the authority of the decisions cited, we hold that the leases executed by the petitioner did not constitute a sale of capital assets, and that he is not entitled to the benefit of section 208*2414  of the Revenue Act of 1924.  Judgment will be entered under Rule 50.